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              United States District Court
      _________DISTRICT OF NEW HAMPSHIRE_________

                                United States of America

                                              v.

                                       Ian Freeman

                             CASE NUMBER: 1:21-cr-000041

              NOTICE OF DEFENSE – PUBLIC AUTHORITY DEFENSE

        NOW COMES the Defendant, Ian Freeman, by and through counsel, and hereby places

this Honorable Court and the Government on notice that he may utilize the defense of public

authority defense.

        As grounds for and in support of, The Defendant states as follows:

   1. The Defendant is currently charged with, among other things, operating an unlicensed

       money transmitting business.

   2. Attached to this Notice is a letter dated November 10, 2017. It is a letter drafted by the

       attorney for the Shire Free Church and includes testimony from Maryam Torben-Defosses

       of the New Hampshire Banking Department.

   3. The Defendant relies upon that representation from a governmental authority

   4. As such, he raises this defense and properly places this Honorable Court and the United

       States Government on notice.

Respectfully Submitted,


July 29, 2022
________________________________            _/s/ Mark L Sisti_________________________
Date                                        Signature
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                                            Mark L. Sisti__________________________
                                            Print Name

                                                      387 Dover Road_____________________
                                            Address

                                                      Chichester, NH 03258______________
                                            City                  State     Zip Code

                                                    (603) 224-4220_____________________
                                            Phone Number


                                     CERTIFICATION

       I hereby certify that a copy of this appearance was forwarded to Seth Aframe, Esq. and
Georgiana MacDonald, Esq of the U.S. District Attorney’s Office, electronically through EFC
on July 29, 2022.

July 29, 2022
________________________________            _/s/ Mark L Sisti___________________
Date                                        Signature

                                            Mark L. Sisti______________________
                                            Print Name
